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Ballots by Mail Ballots by Mail
County .
Accepted Rejected oe

Anderson 370 0
Andrews 62 0
Angelina 854 35
Aransas 39] 11
Archer 89 0
Armstrong 37 1 :
Atascosa 464 10 io
Austin 367 4 LORS
Bailey 61 ] Bos
Bandera 368 8 Lists
Bastrop 1363 8 CLSk os
Baylor 28 0 COs
Bee 386 4 | :
Bell 3593 209 SSO8s
Bexar 30401 361 4
Blanco 271 6 Aes
Borden 15 1 1 ID09
Bosque 250 2 Le
Bowie 1097 37 OAs
Brazoria 3802 60 -
Brazos 2221 64 5
Brewster 219 0 Oy
Briscoe 65 0 08s
Brooks 144 2 Loh
Brown 610 2 335
Burleson 299 8
Burnet 1422 32
Caldwell 450 17
Calhoun 213 1
Callahan 203 10
Cameron 3156 43
Camp 165 0
Carson 58 1
Cass $72 0
Castro 62 0
Chambers 261 0
Cherokee 439 20
Childress 46 0
Clay 100 1
Cochran 55 0
Coke 128 1
Coleman 113 2
Collin 11943 112
Collingsworth 1 0 TOES
Colorado 314 14 427

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Comal
Comanche
Concho
Cooke
Coryell
Cottle
Crane
Crockett
Crosby
Culberson
Dallam
Dallas
Dawson
Deaf Smith
Delta
Denton
Dewitt
Dickens
Dimmit
Donley
Duval
Eastland
Ector
Edwards
E] Paso
Ellis
Erath
Falls
Fannin
Fayette
Fisher
Floyd
Foard
Fort Bend
Franklin
Freestone
Frio
Gaines
Galveston
Garza
Gillespie
Glasscock
Goliad
Gonzales
Gray
Grayson
Gregg

2022 General Election

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75 Bos
3 As
0 Wes
0 DOS
0 EOGaS
0 OOS.
0 DUS
0 HS
0 CO
336 Las
] OAS
0 AS
0 COs
172 BAS
3 13s
0 CUS
0 BOG.
1 FUG O05.
101 ALU ys
559
69 :
12 3.14%
0 QO55
I] 2
0 GO
0
0
524 3
0 o
1 18
3 Us
0 Q
98 LSS
8 88s
0 Wes
j SR
1 Cb
32 Le
19 Moe

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Grimes
Guadalupe
Hale

Hall
Hamilton
Hansford
Hardeman
Hardin
Harris
Harrison
Hartley
Haskell
Hays
Hemphill
Henderson
Hidalgo
Hill
Hockley
Hood
Hopkins
Houston
Howard
Hudspeth
Hunt
Hutchinson
Trion

Jack
Jackson
Jasper
Jeff Davis
Jefferson
Jim Hogg
Jim Wells
Johnson
Jones
Karnes
Kaufman
Kendall
Kenedy
Kent

Kerr
Kimble
King
Kinney
Kleberg
Knox
Lamar

2022 General Election

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Lamb
Lampasas
Lasalle
Lavaca
Lee

Leon
Liberty
Limestone
Lipscomb
Live Oak
Llano
Loving
Lubbock
Lynn
Madison
Marion
Martin
Mason
Matagorda
Maverick
Mcculloch
Mclennan
Mcmullen
Medina
Menard
Midland
Milam
Mills
Mitchell
Montague
Montgomery
Moore
Morris
Motley
Nacogdoches
Navarro
Newton
Nolan
Nueces
Ochiltree
Oldham
Orange
Palo Pinto
Panola
Parker
Parmer
Pecos

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STATE115614
Polk

Potter
Presidio
Rains
Randall
Reagan
Real

Red River
Reeves
Refugio
Roberts
Robertson
Rockwall
Runnels
Rusk
Sabine

San Augustine
San Jacinto
San Patricio
San Saba
Schleicher
Scurry
Shackelford
Shelby
Sherman
Smith
Somervell
Starr
Stephens
Sterling
Stonewall
Sutton
Swisher
Tarrant
Taylor
Terrell
Terry
Throckmorton
Titus

Tom Green
Travis
Trinity
Tyler
Upshur
Upton
Uvalde

Val Verde

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Van Zandt 448 16 SASS
Victoria 2355 ll 1 AaoS
Walker 682 4 CBR DS
Waller 485 1 Jus
Ward 12] 0 2208
Washington 488 5 A
Webb 1064 23 242
Wharton 501 3 OAS
Wheeler 77 0 BOs
Wichita 1232 10 SE Pe
Wilbarger 229 0 LO
Willacy 127 12 & ASSs
Williamson 8273 184 S8g
Wilson 840 9 Lape
Winkler 42 0 COs
Wise 847 20 23k
Wood 757 0 Gos
Yoakum 35 5 12a
Young 0 0 00
Zapata 81 0 Des
Zavala 166 2 1S
Statewide Totals 336349 9348 20S

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